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                                   8                                UNITED STATES DISTRICT COURT
                                   9                           NORTHERN DISTRICT OF CALIFORNIA
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                                         TRACYE BENARD WASHINGTON,
                                  11                                                      Case No. 22-cv-05831 BLF (PR)
                                                       Plaintiff,
                                  12                                                      ORDER GRANTING MOTION FOR
Northern District of California




                                                 v.                                       EXTENSION OF TIME TO FILE
 United States District Court




                                  13                                                      EXHIBITS IN SUPPORT OF
                                         SALINAS VALLEY STATE PRISON,                     OPPOSITION
                                  14
                                         et al.,
                                  15                  Defendants.
                                  16                                                      (Docket No. 27)
                                  17

                                  18          Plaintiff, a state prisoner, filed the instant pro se civil rights action pursuant to 42
                                  19   U.S.C. § 1983. On May 3, 2023, the Court found the complaint stated cognizable claims
                                  20   and ordered the matter served on Defendants. Dkt. No. 14. On October 31, 2023,
                                  21   Defendants filed a motion for summary judgment based on Plaintiff’s failure to exhaust
                                  22   administrative remedies. Dkt. No. 24. Plaintiff filed an opposition brief on November 16,
                                  23   2023. Dkt. No. 26. At the same time, Plaintiff moves for additional time to file exhibits in
                                  24   support of his opposition. Dkt. No. 27.
                                  25          Good cause shown, Plaintiff’s motion is GRANTED. Plaintiff’s exhibits in support
                                  26   of his opposition to Defendants’ summary judgment motion shall be filed no later than
                                  27   December 14, 2023, as requested. Defendants’ reply shall be filed no later than fourteen
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                                            Case 5:22-cv-05831-BLF Document 28 Filed 11/17/23 Page 2 of 2




                                   1   (14) days from the date Plaintiff’s exhibits are filed.
                                   2            This order terminates Docket No. 27.
                                   3            IT IS SO ORDERED.
                                   4   Dated: __November 17, 2023______                      ________________________
                                                                                             BETH LABSON FREEMAN
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                                                                                             United States District Judge
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Northern District of California
 United States District Court




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                                       Order Granting Mot. For EOT to file Ex. to Opp.
                                  25   PRO-SE\BLF\CR.22\05831Washington_eot-opp(ex)


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